         Case 1:18-cv-01284-LAP Document 75 Filed 10/16/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

GEORGE LEHMANN and INSURED BENEFIT
PLANS, INC., Individually and on
Behalf of All Others Similarly
Situated,

                      Plaintiffs,                    18 Civ. 1284 (LAP)

-against-                                                    ORDER

OHR PHARMACEUTICAL INC.,            JASON
SLAKTER, SAM BACKENROTH,            IRACH
TARAPOREWALA,

                      Defendants.



LORETTA A. PRESKA, Senior United States District Judge:

        In light of the Court of Appeals’ recent decision (dkt.

no. 74), Counsel shall confer and inform the Court by letter no

later    than   October   23,    2020,       how   they   propose    to   proceed.

SO ORDERED.


Dated:       New York, New York
             October 16, 2020

                                __________________________________
                                LORETTA A. PRESKA
                                Senior United States District Judge




                                         1
